                                   No. 22-50144

             In the United States Court of Appeals
                     for the Ninth Circuit

                         UNITED STATES OF AMERICA,
                                 APPELLEE

                                        v.

                           JEFFREY FORTENBERRY,
                           DEFENDANT-APPELLANT



           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE CENTRAL DISTRICT OF CALIFORNIA (CRIM. NO. 21-491)
              (THE HONORABLE STANLEY BLUMENFELD, JR., J.)



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      After directing an informant to call Nebraska Congressman Jeffrey

Fortenberry and suggest that illegal donations had been made to his cam-

paign, the federal government prosecuted the Congressman in California on

charges of making false statements about the call to federal agents, in violation

of 18 U.S.C. § 1001(a). But venue did not lie in California, because the state-

ments at issue were made in Nebraska and Washington, D.C. The district

court improperly allowed the prosecution to proceed, and then committed a

second error by declining to instruct the jury that it could not find materiality

based on the circular theory that the statements triggered an investigation

into the truth of those very statements. For each of those reasons, the Con-

gressman’s convictions should be vacated.

      The government’s contrary arguments reflect a fundamental misunder-

standing of the law of venue and serious misgivings about its position at trial

on materiality. With respect to venue: the government argues that Section

1001(a)’s materiality element is an essential conduct element that renders

venue appropriate anywhere the defendant’s statement could potentially af-

fect a government investigation. But materiality is not a conduct element be-

cause proof of materiality does not depend on the defendant’s conduct or re-

quire any actual effect on the government. The materiality element thus can-

not support the government’s effects-based venue test under the Constitution

and Supreme Court precedent. The government also offers a theory of venue



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that it did not present to the jury and that the district court declined to ad-

dress: a continuing-offense theory under 18 U.S.C. § 3237(a). In raising that

new argument, the government mistakenly concludes that Section 3237(a) is

exempt from constitutional venue requirements, and relies on an incorrect his-

tory of the statute.

      With respect to materiality: the government is in full-fledged retreat

from the position it took before the district court. Despite persistently arguing

to the contrary below, the government now concedes that a statement cannot

be material merely because it has the potential to cause an investigation into

the truth of the statement itself. To avoid the obvious need for vacatur on

appeal, the government relies on alternative grounds for affirmance not raised

below and leans heavily on harmlessness. But those arguments wither under

close scrutiny.

      In sum, because venue did not lie in California, and because the jury was

permitted to convict based on an improper theory of materiality, the Congress-

man’s convictions should be vacated.

I.    VENUE WAS IMPROPER IN THE CENTRAL DISTRICT OF
      CALIFORNIA
      In a prosecution for the making of a false statement under Section 1001,

venue is proper only where the defendant made the statement at issue. See

Appellant Br. 22-31. The government resists that conclusion on two grounds.

First, the government contends that Section 1001’s materiality element is a

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conduct element, permitting prosecution wherever a false statement could po-

tentially affect a government investigation, even if the defendant engaged in

no actual conduct there. Second, the government asserts a new venue theory

on appeal, arguing that a Section 1001 offense continues to the location of the

government investigation. Both of those theories are flawed, and they would

permit the boundless prosecution of Section 1001 violations in far-flung juris-

dictions. The Court should instead adopt the view of the Tenth and Eleventh

Circuits and vacate the Congressman’s conviction due to improper venue. 1

       A.   The Proper Venue For A Section 1001 Prosecution Is The Lo-
            cation Where The False Statement Was Made
       The Constitution requires trial in the State and district where the al-

leged crime was committed—the locus delicti. Under the locus delicti test,

courts interpret “the phrasing of a particular criminal statute,” Travis v.

United States, 364 U.S. 631, 635 (1961), in order to determine the “essential

conduct elements” of the offense, United States v. Rodriguez-Moreno, 526

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      This Court has held that a judgment of acquittal is not “the appropriate
remedy in the case of improper venue.” United States v. Hernandez, 189 F.3d
785, 792 n.5 (1999). In December 2022, however, the Supreme Court granted
review in Smith v. United States, No. 21-1576, to consider the question
“whether the proper remedy for the government’s failure to prove venue is an
acquittal barring reprosecution of the offense.” Pet. at i. That case is sched-
uled for oral argument on March 28, 2023, and a decision is expected by the
end of June. If the Supreme Court holds that acquittal is the proper remedy,
this Court should revisit its circuit precedent and grant that same form of re-
lief to the Congressman. See, e.g., MK Hillside Partners v. Commissioner,
826 F.3d 1200, 1206 (9th Cir. 2016).


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U.S. 275, 280 (1999). Venue is proper only where the defendant committed the

essential conduct defined by the relevant criminal statute. See United States

v. Anderson, 328 U.S. 699, 705 (1946). Other required elements of the offense,

including elements that describe the circumstances surrounding the defend-

ant’s conduct, are irrelevant to the venue analysis. See Appellant Br. 23-24.

Applied to Section 1001, the locus delicti test provides that venue for making

a false statement to government officials lies only in the district where the

statements were made. See id. at 26-31.2

       The government agrees that venue “turns on where the ‘essential con-

duct’ elements of the crime occurred.” U.S. Br. 34 (citation omitted). It also

agrees that, under Section 1001, the defendant’s conduct includes the “mak-

ing” of the statement in question, such that venue is proper “where the state-

ment is made.” Id. at 35 (citation omitted). The government’s only point of

disagreement is whether the materiality element of Section 1001 is also an es-

sential conduct element that provides the government a choice among multiple

venues. The government raises several arguments in support of its sweeping

conception of venue, but none withstands scrutiny.

       1.   Parroting the district court’s reasoning, the government contends

that materiality is “the essence of the criminal conduct” under Section 1001

because, “[a]bsent materiality, a false statement is not conduct proscribed by

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    For a Section 1001 offense based on concealment, the analogous conduct
element is concealing a material fact. See Appellant Br. 12, 17.

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law.” U.S. Br. 36 (citation omitted). The government’s conclusion does not

follow from its premise. It is true, of course, that “the act of making a false

statement” alone is not a crime. Id. at 35 (citation omitted). But that is be-

cause circumstance elements are essential elements as well. That materiality

is an essential element has no bearing on whether it is an essential conduct

element.

      Indeed, the government could make the same argument about Section

1001’s jurisdictional element. Absent federal jurisdiction over the subject mat-

ter of a false statement, the making of the statement is not conduct proscribed

by law. But the Supreme Court has labeled Section 1001’s jurisdiction element

as a mere “predicate circumstance.” United States v. Yermian, 468 U.S. 63,

69 (1984). It is thus not an essential conduct element. See Rodriguez-Moreno,

526 U.S. at 279-280.

      So too with materiality. For purposes of venue, Section 1001’s material-

ity element is indistinguishable from its jurisdictional element—neither ele-

ment requires proof of any conduct by the defendant. The government offers

no explanation of how Section 1001’s materiality element differs from its juris-

dictional element. Instead, the government ignores the similarity and, in so

doing, collapses the distinction between essential conduct elements and other

essential elements that do not involve the defendant’s conduct.




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      2.    The government contends that “[c]onduct is often defined by its

effects,” pointing to several other offenses that it believes contain effects-

based conduct elements. U.S. Br. 37. The government then concludes that

Section 1001 is such a statute. See id. at 38. There are at least two fundamen-

tal flaws in that argument.

      a.    For starters, the government’s examples do not prove its point.

To the contrary, all of those examples demonstrate that venue depends on the

defendant’s conduct, not the ensuing effects of that conduct. Consider 18

U.S.C. § 3236, which establishes venue for federal murder and manslaughter.

The government argues that, under Section 3236, venue lies “ ‘where the injury

was inflicted,’ not where the action occasioning the injury was initiated.”

Br. 37 (quoting Section 3236). But the government omits a crucial part of the

statute. In full, the statute provides that venue lies “where the injury was

inflicted, or the poison administered or other means employed which caused

the death, without regard to the place where the death occurs.” 18 U.S.C.

§ 3236 (emphasis added). Section 3236 thus rejects effects-based venue: if the

defendant injured the victim in one State but the victim died in another, venue

would lie only where the defendant injured the victim, not where the ultimate

effect on the victim occurred.

      In invoking Section 3236, the government seems to be envisioning a sit-

uation in which the defendant’s conduct in one State injures a victim in another



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State, such as a cross-border shooting. See U.S. Br. 37. But that example

again proves the Congressman’s point. A defendant who shoots across state

lines “dispatch[es] [a] missive from one State into another,” making the shoot-

ing “an act completed in” the State of injury. United States v. Cabrales, 524

U.S. 1, 9 (1998). In other words, the defendant is viewed as having reached

across state lines by firing the bullet. Venue is thus proper in the State of

injury not because of the effect on the victim, but rather because of the defend-

ant’s cross-border conduct.

       The government next asserts that, in Johnston v. United States, 351

U.S. 215 (1956), the Supreme Court held that venue for the crime of failing to

report for military duty is “proper only in the district where the harm or in-

tended harm occurred.” Br. 37. But the government misreads Johnston.

There, the Court concluded that the defendants’ failure to appear constituted

the criminal act. Because venue “is determined by the acts of the accused,”

351 U.S. at 220, the Court held that “venue must lie where the failure [to re-

port] occurred” and not where the “residence of the accused” is located, id. at

221-222. The government’s examples thus confirm that venue focuses on the

conduct of the defendant, not the downstream effects of that conduct.3

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    Commonwealth v. Macloon, 101 Mass. 1 (1869), which concerns common-
law manslaughter on the high seas, is also inapposite. See U.S. Br. 37. There,
the court focused primarily on the State’s legislative jurisdiction under the
state constitution. See generally Macloon, 101 Mass. at 5-15. Crimes on the


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      b.    Beyond its flawed examples, the government’s argument that ma-

teriality is an essential conduct element of a Section 1001 offense suffers from

a more fundamental problem: namely, that the text of Section 1001 does not

define conduct by its effects. Section 1001 uses the words “material” and “ma-

terially,” 18 U.S.C. § 1001(a), but the government fails to explain why materi-

ality inherently concerns the defendant’s conduct. Nor is it apparent why that

would be so. As the government concedes, a statement can be material for

purposes of Section 1001 even if it has no “actual effect on the government.”

Br. 47 (citation omitted). It is hard to see how an element that can be satisfied

in the absence of any real-world effect could define the defendant’s conduct in

terms of its effects.

      At a minimum, Section 1001 is ambiguous with respect to whether ma-

teriality is a conduct element. In contrast to other statutes that define the

defendant’s conduct as “affect[ing] commerce” or “caus[ing] damage,” see Ap-

pellant Br. 37, Section 1001, by using the words “material” and “materially,”

does not clearly manifest an intent to provide for effects-based venue. Where

a statute is ambiguous as to which elements constitute conduct elements, a

court should take a restrictive approach to the statute for venue purposes. See

United States v. Johnson, 323 U.S. 273, 276 (1944). A broad construction of


high seas occur outside the boundaries of any State or district and thus are not
subject to constitutional venue requirements. See St. Clair v. United States,
154 U.S. 134, 145 (1894); see also 18 U.S.C. § 3238.

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Section 1001 would allow for venue in multiple places—a result courts seek to

avoid where Congress chose not to provide for “a choice of trial” through a

specific venue provision. Id. Nor can one “make the cavalier assumption” that

venue “specifically provided for in other enactments”—such as the witness-

tampering statute, see Appellant Br. 36—“was authorized but through parsi-

mony of language left unexpressed” in Section 1001. Johnson, 323 U.S. at 277.

      Instead of coming to grips with the statutory text, the government ar-

gues that the locus delicti is not “categorically different” from the location of

an offense’s effects. U.S. Br. 38. That is a strawman. The Congressman made

no such argument; to the contrary, his opening brief identifies multiple crimi-

nal statutes that clearly define the essential conduct elements in terms of their

effects. See Appellant Br. 36-37. The government does not meaningfully ad-

dress the differences between those statutes and Section 1001.

      The government is also incorrect that the Congressman’s argument re-

lies on the “verb test” in contravention of Rodriguez-Moreno. See U.S. Br. 39.

As a preliminary matter, Rodriguez-Moreno recognizes that, when reading a

criminal statute, “the ‘verb test’ certainly has value as an interpretative tool”

to determine the essential conduct elements; it merely instructs that the test

“cannot be applied rigidly.” 526 U.S. at 280. There is no dispute that, although

verbs most commonly describe “conduct prohibited by statute,” certain stat-

utes may use other parts of speech for the same purpose. Id. In Rodriguez-



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Moreno itself, the Court held that the phrase “crime of violence” was a conduct

element because it required evidence showing that the defendant “committed

all the acts necessary” to constitute such a crime. Id. But Section 1001’s ma-

teriality element does not require the government to prove that the defendant

committed any act whatsoever, and thus does not describe “conduct prohibited

by statute.” Id.

      B.    The Venue Statute For Continuing Offenses Does Not Apply
      The government next advances a new theory of venue on appeal, arguing

that a violation of Section 1001 can constitute a continuing crime under 18

U.S.C. § 3237(a) where the defendant’s statement has a potential effect on a

government investigation in another jurisdiction. See Br. 40-49. In relevant

part, Section 3237(a) provides that offenses “begun in one district and com-

pleted in another, or committed in more than one district,” may be prosecuted

“in any district in which such offense was begun, continued, or completed.”

      The government did not raise a continuing-offense theory of venue at

trial; nor was the jury instructed on such a theory. Because venue is a question

for the jury, the government can prevail on this alternative ground for affir-

mance only by making the difficult showing that “the evidence, had it been

viewed by a rational jury, could only have led” to the conclusion that the




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charged Section 1001 offenses began, continued, or were completed in the Cen-

tral District of California. United States v. Moran-Garcia, 966 F.3d 966, 970

(9th Cir. 2020).

      The government does not identify any evidence showing that the Con-

gressman made any part of the relevant statements in the Central District, or

that making the statements involved a continuing process. See U.S. Br. 59.

Instead, the government repackages its effects-based theory as a continuing-

offense theory. According to the government (Br. 49), a Section 1001 offense

begins where the defendant made the relevant statement, and continues to the

place or places where the statement could potentially influence the govern-

ment investigation. The government is wrong.

      1.    The government understands the locus delicti test to have no in-

dependent application when the government invokes Section 3237(a); in its

view, Section 3237(a) displaces that test and thereby eliminates any “implicit

limitation on venue when a crime’s commission spans multiple districts.”

Br. 43-44. That understanding is circular and incorrect.

      Section 3237(a) does not override the constitutional locus delicti test,

which focuses on the location of the essential conduct defined by the relevant

criminal statute. All that Section 3237(a) provides is that, if an offense involves

conduct in multiple jurisdictions, venue is available wherever the criminal con-

duct occurred. But Section 3237(a) does not define the relevant conduct for



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any given substantive criminal statute; a court must still make that determi-

nation based on “the phrasing of a particular criminal statute.” Travis, 364

U.S. at 635. As this Court and numerous others have thus recognized, before

proceeding to Section 3237(a), it is necessary to determine the essential con-

duct elements of the underlying criminal statute. See, e.g., United States v.

Hernandez, 189 F.3d 785, 788-791 (9th Cir. 1999); United States v. Miller, 808

F.3d 607, 615-616 (2d Cir. 2015); United States v. Umaña, 750 F.3d 320, 333

(4th Cir. 2014). As a logical matter, only after identifying those elements can

a court assess whether the relevant conduct occurred in multiple jurisdictions.

If the answer is yes, Section 3237(a) permits prosecution in “any of the districts

where an essential conduct element of the crime took place.” United States v.

Ramirez, 420 F.3d 134, 139 (2d Cir. 2005).

      The government’s contrary view cannot be squared with United States

v. Cabrales, 524 U.S. 1 (1998). There, when determining venue for a money-

laundering offense, the Supreme Court first analyzed the text and operation

of the money-laundering statute to identify the essential conduct elements.

See id. at 6-7. Only then did the Court turn to analyze whether that essential

conduct occurred in multiple jurisdictions, permitting prosecution in any of

them. Section 3237(a) thus does not alter the rule that venue is proper only

where the defendant’s conduct occurred; it merely provides a choice in venue

where the defendant’s conduct occurred in multiple jurisdictions.



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      This Court’s en banc decision in United States v. Lozoya, 982 F.3d 648

(2020), makes clear that Section 3237(a) does not override constitutional venue

protections. There, the Court addressed the question whether, under Section

3237(a), a prosecution for assault in airspace lay in the district where the plane

landed. In answering that question, the Court employed a two-step analysis,

first determining whether “constitutional requirements” are satisfied and only

then turning to “statutory requirements.” Id. at 651-656. If “the Constitution

settles the issue” and forecloses venue in a particular district, the Court rea-

soned, “Congress’s venue statutes do not apply.” Id. at 652 n.4. The Court

ultimately concluded that the Constitution imposed no limits on venue because

a crime in airspace occurs outside any State or federal district; the Court then

held that a provision of Section 3237(a) not applicable here authorized prose-

cution where the plane landed. See id. at 652-653.

      The government is thus incorrect that a Section 1001 offense can con-

tinue into a jurisdiction where the defendant did not engage in any conduct.

See U.S. Br. 54. The Constitution limits venue to the place of the defendant’s

acts, and Section 3237(a) must be “read in light of . . . constitutional re-

quirements.” Travis, 364 U.S. at 637. The government compares a Section

1001 violation to kidnapping, see Br. 54, but that comparison only highlights

the centrality of the defendant’s conduct in determining whether an offense is

continuing. An essential conduct element of kidnapping is the defendant’s “act



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of holding” the victim, and that act does not end when the victim is “first”

seized. United States v. Garcia, 854 F.2d 340, 343-344 (9th Cir. 1988) (citation

omitted).

      2.    The government also asserts that Section 3237(a) “eliminated the

‘restrictive approach’ ” to statutory interpretation mandated by Johnson.

Br. 43 (citation omitted). The government is again mistaken.

      Johnson implicated the predecessor version of Section 3237(a), which

was substantively identical to the current version of Section 3237(a). See 53 F.

Supp. 596, 597 & n.1 (D. Del.) (quoting 28 U.S.C. § 103), aff’d, 323 U.S. 273

(1944). There, the Court was interpreting the Federal Denture Act, which

prohibited the use of the mails for sending or bringing certain types of den-

tures into a State. See 323 U.S. at 273. The defendant had mailed prohibited

dentures from Chicago to Delaware, and the government prosecuted him in

Delaware. Invoking the continuing-offense statute, the government argued

that the prohibited conduct was using the mails, and thus the defendant’s con-

duct began in the sending district and continued into the receiving district.

U.S. Br. at 4-5, 13-14, Johnson, supra (No. 44-43), 1944 WL 42515.

      The Court rejected the government’s argument and held that venue lay

only in Chicago, where the defendant sent the package. See 323 U.S. at 278.

While acknowledging that the Federal Denture Act was susceptible to the gov-

ernment’s interpretation, the Court nevertheless adopted a more restrictive



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interpretation: “the crime of the sender is complete when he uses the mails in

Chicago,” and the offense did not continue into the receiving district. Id. at

277. Where multiple reasonable interpretations of a criminal statute exist,

courts should adopt the narrower one for venue purposes—“construction

should go in the direction of constitutional policy” of “trial in the vicinage.” Id.

at 276. The Court thus declined to permit venue under the continuing-offense

statute. See id. at 278.

      In response to Johnson, “Congress wrote the second paragraph” of Sec-

tion 3237(a), Lozoya, 982 F.3d at 653 n.6, which expressly provides that “[a]ny

offense involving the use of the mails . . . is a continuing offense,” 18 U.S.C.

§ 3237(a). But the second paragraph of Section 3237(a) is irrelevant here; the

government invokes only the first paragraph. Johnson’s “restrictive ap-

proach” is therefore directly on point, and it applies with even more force to

Section 1001. Cf. Travis, 364 U.S. at 634. The use of the words “material” and

“materially” in Section 1001 do not “inescapably” describe the defendant’s con-

duct, much less a “process” of continuing conduct. Johnson, 323 U.S. at 277.

And unlike the statutory text in Johnson, Section 1001’s text is not reasonably

susceptible to the government’s interpretation. See pp. 8-9, supra.

      3.    In his opening brief, the Congressman explained why United

States v. Angotti, 105 F.3d 539 (9th Cir. 1997), does not support the govern-




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ment’s venue argument. See Appellant Br. 39-40. The government neverthe-

less argues that venue was proper under Angotti in the Central District of

California because the Congressman “directed” his statements there. See U.S.

Br. 44. The government treats the “direction” of the statement as synonymous

with its “potential effects”: “[t]he potential effects of [the statements] were in

the Central District of California, because [the statements] were directed at

federal investigative efforts occurring there.” Id. at 20 (internal quotation

marks and citation omitted). The government’s “directed at” test is thus no

different from its effects-based test, and it suffers from the same flaws. See

pp. 4-10, supra.

      Angotti does not support the government’s argument that, under Sec-

tion 1001, a defendant directs his statement to wherever its potential effects

could be felt. As the government recognizes, Angotti involved 18 U.S.C.

§ 1014, a criminal statute with “no materiality element.” Br. 40. Instead, Sec-

tion 1014 prohibits making any false statement in a loan or credit application

“for the purpose of influencing” the action of a federally insured institution.

18 U.S.C. § 1014. In Angotti, the defendant had submitted false documents

“for the purpose of influencing the bank official who had the power to approve

his loan.” 105 F.3d at 543. That official, the Court explained, was “the person




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to whom Angotti’s statements were directed,” so the Section 1014 offense con-

tinued until the statements reached the intended recipient. Id. Because Sec-

tion 1001 has no intent-to-influence element, Angotti is inapplicable. 4

       C.   The Government’s Venue Theory Has No Limiting Principle
       At bottom, every variation of the government’s theory of venue is based

on a statement’s “potential effects” on the government. But as the govern-

ment notes, materiality is an objective standard, and a false statement does

not “need to be transmitted” to the location of the government investigation in

order to be material. U.S. Br. 53. The logical result of the government’s the-

ory is thus that a Section 1001 offense continues wherever the statement has

the potential to influence government agents. Under such a sweeping theory,

the defendant can be “dragged to a trial in some distant” venue beyond the



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     In any event, Angotti’s reasoning cannot survive the Supreme Court’s de-
cisions in Cabrales and Rodriguez-Moreno. See Appellant Br. 39. The gov-
ernment is correct that, in Cabrales, the Supreme Court addressed venue for
money-laundering charges and thus abrogated only that particular aspect of
Angotti’s erroneous venue determination. See Cabrales, 524 U.S. at 6 (citing
Angotti). But the same error also infects Angotti’s venue determination on
the Section 1014 charges. As the Supreme Court explained, lower courts had
erred by extending Section 3237(a) beyond constitutional limits and determin-
ing venue based on a circumstance element—the source of the funds for the
money-laundering offense. See Cabrales, 524 U.S. at 6-8. Angotti’s decision
concerning Section 1014 determined venue based on the defendant’s intent to
influence, and there is no dispute that mens rea is also a circumstance element.
See United States v. Oceanpro Industries, Ltd., 674 F.3d 323, 329 (4th Cir.
2012). Angotti’s “directed at” test is therefore no longer good law.

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vicinity of the crime, Lozoya, 982 F.3d at 651 (citation omitted), and the gov-

ernment would always have “the choice of ‘a tribunal favorable’ to it” based on

its own movement and conduct, Travis, 364 U.S. at 634 (citation omitted). The

Constitution’s limits on venue were designed to protect against precisely those

dangers. See Lozoya, 982 F.3d at 651.

      In a telling moment of candor, the government recognizes the poten-

tially limitless nature of its venue theory. See U.S. Br. 49. The government

seeks to avoid that obviously impermissible result by limiting its theory to

cases where there is a “direct” or “causal” connection between the statement

and the relevant government investigation. Id. In support, the government

cites United States v. Pace, 314 F.3d 344 (9th Cir. 2002), a case involving the

offenses of wire fraud and the making of a false tax return. See id. at 346.

      The government’s causation test appears to derive from the wire-fraud

statute, 18 U.S.C. § 1343, which punishes anyone who “causes to be transmit-

ted by means of wire” communications for the purpose of fraud. In Pace, this

Court interpreted the word “causes” in the statute to require a “direct or

causal connection to the misuse of wires.” 314 F.3d at 350. Of course, Section

1001 lacks any similar language, and in any event, the “causal connection” in

Pace concerned the defendant’s conduct of causing misuse of wires, not any

effects on the victim. See id. at 349, 350.




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      In discussing the submission of a false tax return, the Pace Court did not

mention materiality, direct effects, or causation. Indeed, the Court properly

focused only on the defendant’s conduct of “ ‘making’ a false tax return.” 314

F.3d at 352. If the defendant sends a false document to a person through the

mail, the Court explained, his act of “making” the tax return is “completed”

when the mail is “received by the party to whom it is addressed.” Id. Pace

therefore supports the Congressman’s argument that “the criminal act is com-

pleted as soon as the false statement of material fact is made.” Appellant

Br. 32. Under the government’s theory, by contrast, the offense would con-

tinue with its potential to influence the government, far beyond the point when

the statement had been made and received.

      Pace thus does not support the government’s attempt to impose an arti-

ficial “directness” or “causation” limitation on its effects-based theory of venue

for a Section 1001 offense. But without any such limitation, the government’s

theory is boundless, because the element of materiality requires only a poten-

tial effect on the government. See p. 8, supra. In any given prosecution under

Section 1001, that could encompass myriad jurisdictions—including Washing-

ton, D.C., in nearly every case. Such a sweeping theory of venue cannot be

squared with the “constitutional policy” of “trial in the vicinage.” Johnson, 323

U.S. at 276.




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     D.    The Tenth And Eleventh Circuits Have Correctly Rejected The
           Effects Test
     The Tenth and Eleventh Circuits correctly rejected the effects test in

United States v. Smith, 641 F.3d 1200 (10th Cir. 2001), and United States v.

John, 477 Fed. Appx. 570, 572 (11th Cir. 2012). Those decisions properly ap-

plied both the locus delicti test and Section 3237(a). They held that, under

Section 1001, the “essential conduct element” is “making a false statement,”

Smith, 641 F.3d at 1207 (citation omitted), and the government investigation

is not a part of the defendant’s “own offense conduct,” John, 477 Fed. Appx.

at 572. In addition, they correctly rejected the government’s reliance on Sec-

tion 3237(a), reasoning that a verbal statement made to a government agent

“during an interview”—as was the case here—“began, continued, and ended

during the interview.” Smith, 641 F.3d at 1208-1209.

     The government argues (Br. 55) that Smith is distinguishable because

the government agent there did not record or transcribe the false statement

in Minnesota and then bring a recording or transcript into Oklahoma, the lo-

cation of the government investigation. But that distinction turns on mere

happenstance in the government agent’s method of notetaking. Although the

court in Smith mentioned that the agent “did not record the interview,” the

court added that the agent took notes during the interview and compiled a re-

port of her notes “after she had returned to Oklahoma.” 641 F.3d at 1203,




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1208. The government’s method of notetaking has nothing to do with the de-

fendant’s conduct and is not within the defendant’s control. And that distinc-

tion is even more puzzling under the government’s effects test. Regardless of

whether a government agent records a statement or takes notes, a material

statement is capable of having a similar downstream effect on a government

investigation in a separate jurisdiction. The government offers no principled

basis for treating the two situations differently in light of its effects-based

venue test.

        In his opening brief (Br. 33-37), the Congressman acknowledged that

three courts of appeals have reached contrary decisions, and he explained

where each of those courts erred. The government recounts those decisions

but fails to respond to the Congressman’s arguments as to the error in each

case.

        Like the government and the district court, those courts erred by deter-

mining venue based on the place of the government investigation rather than

the defendant’s conduct. That error is most evident in the Seventh Circuit’s

decision in United States v. Ringer, 300 F.3d 788 (2002), which did not apply a

locus delicti test at all. The Second and Fourth Circuits at least purported to

apply the locus delicti test, but their analyses suffer from the same flaws as

the government’s. In particular, those courts ignored the Supreme Court’s




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rules of statutory interpretation; mistakenly assumed that materiality re-

quires evidence of effect; and conflated essential elements with essential con-

duct elements. See United States v. Coplan, 703 F.3d 46, 79 (2d Cir. 2012);

Oceanpro, 674 F.3d at 329. And while the Oceanpro court did not address

Section 3237(a) and the Ringer court failed to reach a clear conclusion, the

Coplan court erred by interpreting Section 3237(a) without regard to consti-

tutional limitations. The Coplan court held that the Section 1001 offenses con-

tinued into the district of the government investigation on the grounds that

the government agents “reviewed and discussed” the statements and that the

statements “continued to be false and continued to be in the jurisdiction of the

United States.” 703 F.3d at 80 (citation omitted). But none of those factors is

a proper consideration under Supreme Court precedent. See p. 3-4, supra.

The Court should therefore decline to follow Coplan’s reasoning and vacate

the decision below because venue was improper in California.

II.   THE JURY INSTRUCTION ON MATERIALITY CONSTITUTED
      AN INCOMPLETE STATEMENT OF THE LAW
      As Congressman Fortenberry has explained (Br. 41-55), vacatur of the

judgment below is also required because the jury instructions allowed the jury

to find materiality based on a legally impermissible theory. The government

disagrees (Br. 22-31), but in so doing, it accepts nearly all of the key premises

of the Congressman’s argument—including premises it contested below. The

government’s argument before this Court now largely reduces to alternative

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grounds for affirmance not raised below. Even if the Court were to consider

those arguments, none would withstand scrutiny. The improper jury instruc-

tion on materiality independently requires vacatur of the Congressman’s con-

viction.

      1.    The government agrees (Br. 24, 28) that materiality is necessarily

evaluated at the time the alleged misstatement is made and with respect to a

relevant decision before an agency. As Congressman Fortenberry repeatedly

argued before the district court, see, e.g., D. Ct. Dkt. 195, at 4-5; 8-ER-1765,

identifying the “statement” and the relevant “decision” are thus prerequisites

for any materiality determination. In crafting jury instructions for a Section

1001 case, a court must consider whether each government action presented

to the jury is “the type of decision that, without more, itself gives rise to mate-

riality.” United States v. Johnson, 19 F.4th 248, 260 (3d Cir. 2021); see also

Appellant Br. 42-43.

      As courts have recognized, “the materiality element would be rendered

meaningless if it were sufficient for the government merely to establish the

capability of the false statement to influence [a government agent’s] decision

to refer for investigation, investigate, or prosecute the defendant for the very

statement at issue.” United States v. Litvak, 808 F.3d 160, 173 (2d Cir. 2015)

(internal quotation marks omitted). It would also raise serious constitutional




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concerns. See Appellant Br. 46-48. At trial, however, government agents tes-

tified that the Congressman’s statements caused an investigation into the

truth of those statements themselves. The Congressman thus proposed the

following jury instruction to prevent the jury from finding materiality on a le-

gally impermissible basis:

    To be material, a false statement must be capable of influencing a then-
    existing investigation or decision. A false statement is not material
    merely because it causes the government to investigate the veracity
    (truth or falsehood) of the statement itself.

1-ER-106.

      The government objected to that proposed instruction on the ground the

jury is permitted to consider “the truth or falsity of the statement . . . with

respect to the materiality of a statement.” 1-ER-107. As the government later

elaborated, it believed it was erroneous to say that “materiality cannot be

based solely on an investigation into the veracity of the statement itself.”

D. Ct. Dkt. 208, at 10. In support of that argument, the government cited Bro-

gan v. United States, 522 U.S. 398 (1998), which it contended “foreclose[d]”

the Congressman’s argument. D. Ct. Dkt. 208, at 10. The district court

agreed, holding that it would “misstate[] the law,” 1-ER-68, to instruct the jury

that materiality cannot be premised merely on a statement’s ability to influ-

ence an investigation “to determine whether [the defendant’s] statements

were true or false,” 8-ER-1766.



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       The government reverses course on appeal. It now concedes that pros-

ecutors cannot “bootstrap materiality by arguing an unimportant lie caused

the government to start investigating the lie itself, rendering the lie important

after-the-fact.” Br. 28. The government also does not contest that one theory

of materiality before the jury was that the Congressman’s statements were

material because they were capable of causing (and in fact did cause) an inves-

tigation into the truth of the statements themselves. Nor does the government

defend its previous reliance on Brogan, which did not bless the sweeping read-

ing of Section 1001 that the district court, at the government’s invitation, em-

braced. See Appellant Br. 48-49.

       The dispute on appeal has thus narrowed largely to two questions:

whether there were alternative grounds for rejecting the Congressman’s jury

instruction, and whether any error was harmless.

       2.   The government argues that the district court did not err in re-

jecting the Congressman’s proposed instruction, relying on two arguments

that it did not raise below and that the district court did not address. 5 Those

arguments lack merit.

   5
    From the outset, the government errs by applying the wrong standard of
review. See Br. 22-23. It is true that “whether an instruction should be given
in the first place” is “typically review[ed] . . . for abuse of discretion.”
United States v. Heredia, 483 F.3d 913, 921 (9th Cir. 2007). But where, as
here, the appellant challenges the jury instruction as “an incomplete, and
therefore incorrect, statement of the law,” de novo review applies. Norwood


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      The government argues (Br. 25-27) that the district court could have re-

jected the proposed instruction on the ground that the first sentence—“[t]o be

material, a false statement must be capable of influencing a then-existing in-

vestigation or decision,” 1-ER-106—was an incorrect statement of the law.

Putting aside that the government did not object on that basis below, see 1-

ER-107, there are two problems with the government’s argument.

      First, the government’s argument misses the bigger picture. As the

government concedes, a statement is not material in a vacuum, but instead

only with respect to “the decision of the decisionmaking body to which it was

addressed.” Br. 24 (citation omitted). Here, the government offered only two

theories of materiality to the jury: namely, that the Congressman’s state-

ments were material to the FBI’s investigation of In Defense of Christians,

and that they were material to the FBI’s decision to investigate the truth of

the statements themselves. See Appellant Br. 53-54. In that context, the

“then-existing investigation” of In Defense of Christians was the only legally

adequate theory of materiality. The Congressman’s proposed jury instruction

thus accurately stated the law as applied to the facts before the jury.




v. Vance, 591 F.3d 1062, 1066 (9th Cir. 2010); see also Peralta v. Dillard, 744
F.3d 1076, 1082 (9th Cir. 2014) (en banc). In any event, “an error of law is an
abuse of discretion.” Yokoyama v. Midland National Life Insurance Co., 594
F.3d 1087, 1091 (9th Cir. 2010).


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      Second, “[p]erfect or not, the [Congressman’s] proposed instruction

brought the issue” of the improper theory of materiality “to the district court’s

attention.” Norwood, 591 F.3d at 1067. Even if part of the Congressman’s

instruction were incorrect or misleading, that would “not alone permit the dis-

trict judge to summarily refuse to give any instruction on the topic” whatso-

ever. Id. (citation omitted). If the court thought that the Congressman’s pro-

posed instruction “needed further context,” it “could have provdided it.” Id.

      The government additionally argues that the district court was permit-

ted to reject the proposed instruction because the instruction it gave was “well-

established” and because the Congressman did not “cite the authorities he now

relies on.” Br. 27-28. That argument is factually unsupported and legally un-

precedented. For one thing, the use of a well-established model jury instruc-

tion “does not preclude a finding of error.” United States v. Bachmeier, 8

F.4th 1059, 1065 (9th Cir. 2021) (citation omitted). For another, as the govern-

ment acknowledges, Congressman Fortenberry did repeatedly cite the key

Supreme Court precedent setting forth the framework governing materiality

under Section 1001. See Br. 27-28 (citing 1-ER-106 and 8-ER-1765). But even

setting that aside, there is no requirement that a defendant who objects to an

erroneous jury instruction must cite all applicable precedent. “[O]nce an ar-

gument is before” a court, “it is [the court’s] job to get the relevant case law




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right”; “a party cannot forfeit or waive recourse to a relevant case just by fail-

ing to cite it.” United States v. Hillie, 39 F.4th 674, 684 (D.C. Cir. 2022) (cita-

tion omitted). A court “should therefore use its full knowledge of its own and

other relevant precedents” when adjudicating a legal issue. Elder v. Hol-

loway, 510 U.S. 510, 516 (1994) (internal quotation marks, citation, and brack-

ets omitted).

      3.      Because the district court’s jury instruction impermissibly allowed

the jury to rely on a legally inadequate theory of materiality, vacatur of the

convictions is warranted (if the Court does not independently vacate based on

improper venue). See Appellant Br. 51-53. The government’s contrary argu-

ments fail.

      The district court’s error was not harmless. See Appellant Br. 51-53.

The government’s harmlessness argument boils down to the contention that

the Congressman’s argument on materiality “does not fit the facts of this

case,” Br. 28, because the jury could have made its materiality finding based

on the “public-corruption investigation that had begun years earlier.” Br. 31.

There is no dispute that one theory of materiality presented to the jury was

that the Congressman’s statements were material to the investigation of In

Defense of Christians. The problem is that the other theory of materiality that

the government chose to present was that the Congressman’s statements were

material to the decision whether to investigate the truth of those statements



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themselves. See Appellant Br. 53-55. The government does not dispute that

it pressed that theory below—nor could it. See, e.g., 6-ER-1279; 6-ER-1391; 7-

ER-1430; 7-ER-1450; 7-ER-1534–35; 9-ER-2097. Before abandoning it on ap-

peal, the government persistently defended that erroneous theory. See, e.g.,

1-ER-106–107; D. Ct. Dkt. 208, at 10.

      Because the jury was presented with two theories of materiality, one of

which was legally erroneous, the district court’s failure to instruct the jury on

the legal insufficiency of one of those theories is reversible error. The district

court’s instructions “left [to the jury] the option of relying upon [that] legally

inadequate theory,” Griffin v. United States, 502 U.S. 46, 59 (1991), and this

Court has no way to “tell whether the jury selected” the legally erroneous the-

ory of materiality or the permissible one. United States v. Barona, 56 F.3d

1087, 1098 (9th Cir. 1995). Precedent thus “requires that the conviction be

vacated and the case retried.” Id. The Government offers no response to this

familiar principle. See Appellant Br. 51-53.

      In short, the government made a conscious decision to argue that the

jury could find materiality based on the government’s decision to investigate

the veracity of the defendant’s statements. As the government now recog-

nizes, that decision cannot support a materiality finding under Section 1001.

Because there is no way to know whether the jury found the Congressman’s




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statements material based on that legally impermissible theory, his convic-

tions should be vacated on that basis, as well as for improper venue.

                          *     *     *     *      *

      The judgment of the district court should be vacated, and the case re-

manded for further proceedings.

                                       Respectfully submitted,

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